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 1                                                                  JUDGE RUDOLPH CONTRERAS
 2
                                      UNITED STATES DISTRICT COURT
 3
                                          DISTRICT OF COLUMBIA
 4
 5   UNITED STATES OF AMERICA,                             )   No. 21-CR-00687 (RC)
                                                           )
 6                       Plaintiff,                        )
                                                           )   MR. RHINE’S REPSONSE TO THE
 7                  v.                                     )   GOVERNMENT’S MOTION IN
                                                           )   LIMINE REGARDING EVIDENCE OF
 8   DAVID CHARLES RHINE,                                  )   LAW ENFORCEMENT CONDUCT
                                                           )
 9                       Defendant.                        )
                                                           )
10             The Court should deny the government’s Motion in Limine to preclude most
11   testimony or evidence into the actions or inactions of law enforcement. The government
12   again over-reaches, and seeks to preclude plainly relevant evidence. But the
13   government chose to bring charges that include as an element actions by government
14   officials—namely restriction of a specified area. The order sought by the government
15   would violate Mr. Rhine’s rights under the Fifth and Sixth Amendments and must be
16   denied.
17
     I.        ARGUMENT
18
               A.        Evidence of the actions and inactions of law enforcement is plainly
19                       relevant to the charges against Mr. Rhine and should be admitted.
20             It is undisputed that evidence of the actions and inactions of law enforcement

21   have “any tendency to make a fact more or less probable than it would be without the

22   evidence” and that those facts are “of consequence” in this case. See Fed. R. Evid. 401.

23   Indeed, “[t]he government acknowledges that the conduct of law enforcement officers

24   may be relevant to the defendant’s state of mind on January 6, 2021.” Dkt. No. 40 at 4.

25   Indeed, if law enforcement officers removed barriers, allowed people to enter the

26   Capitol, or otherwise took no action to stop such entry, it makes it less likely that Mr.


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 1   Rhine knowingly committed any of the crimes that the government has charged him
 2   with. Furthermore, the actions (for example in moving themselves or barriers) or
 3   inactions (in not posting barriers or restrictions) make it less likely that Mr. Rhine was
 4   in an area restricted under 18 U.S.C. § 1752.
 5            Yet the government seeks to invade Mr. Rhine’s Fifth Amendment right to
 6   remain silent by precluding this plainly relevant evidence “unless the defendant shows
 7   that, at the relevant time, he specifically observed or was otherwise aware of some
 8   alleged inaction by law enforcement[.]” Dkt. No. 40 at 4. This is not the standard.
 9            To be clear, Mr. Rhine does not intend to present evidence wholly unrelated to
10   him or the charges against him. However, inaction by law enforcement 1 in demarcating
11   the alleged restricted area, or removal of barriers, is relevant to challenge the
12   government’s proof on the restricted area elements of Counts 1 and 2. This is true
13   whether or not Mr. Rhine personally witnessed these events. Further, permissive actions
14   or inactions by law enforcement in Mr. Rhine’s general vicinity tend to make his
15   knowledge that entry was not permitted less likely, even if Mr. Rhine did not personally
16   interact with the officer(s) in question. Indeed, a law enforcement officer permitting
17   people near Mr. Rhine to enter the Capitol makes it less likely that Mr. Rhine knowingly
18   entered without authority. The government cannot force Mr. Rhine to the stand to
19   testify about precisely what he recalls witnessing or not. Rather, the temporal and
20   spatial proximity is sufficient to establish relevance.
21            The Court should deny the government’s request to apply a lopsided and legally
22   incorrect standard of relevance to Mr. Rhine. Furthermore, to the extent the government
23   seeks to introduce evidence of barriers or law enforcement boundaries posted earlier in
24   the day on January 6, it may not preclude Mr. Rhine from presenting or eliciting
25   1
       Assuming, arguendo, that the government’s theory that a restricted area under section
26   1752 can be restricted by any agency (not only the Secret Service), the actions or
     inactions in marking such restricted area by any agency become relevant.
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 1   evidence that such barriers were no longer posted at the time the government alleges
 2   Mr. Rhine committed the charged crimes.
 3          B.      The government’s reliance on Chrestman is mis-placed and, in any
                    event, is inapplicable here.
 4
            The government relies on Chief District Judge Beryl A. Howell’s non-binding
 5
     opinion in United States v. Chrestman, 525 F. Supp. 3d 14 (D.D.C. 2021). Not only
 6
     does this Court owe the opinion no deference, but also the relevant reasoning is near
 7
     dicta within the opinion and, in any event, not applicable to the facts of Mr. Rhine’s
 8
     case. Mr. Rhine does not intend to argue that former President Donald Trump
 9
     authorized him to commit violent crimes at his behest. Indeed, Mr. Rhine is not accused
10
     of any violent crimes. However, Mr. Rhine should not be precluded from presenting
11
     relevant statements by former President Trump on January 6 to the extent they cast
12
     doubt on the government’s evidence that Mr. Rhine knowingly encroached on a
13
     restricted area. But Chrestman does not address this situation.
14
            In Chrestman, Honorable Judge Howell ruled on a request by Mr. Chrestman to
15
     review the Magistrate Judge’s detention order. In doing so, she analyzed the weight of
16
     the evidence against Mr. Chrestman, a factor for consideration under the Bail Reform
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     Act. See id. at 28–33. Notably, the weight of the evidence is the least important factor
18
     for consideration under the Bail Reform Act (BRA). See United States v. Gebro, 948
19
     F.2d 1118, 1121 (9th Cir. 1991), cited with approval in United States v. Padilla, 538 F.
20
     Supp. 3d 32, 43 (D.D.C. 2021).
21
            Indeed, the District of Columbia Circuit has cautioned against overemphasis of
22
     this BRA factor precisely because the context (consideration of risk of flight or danger)
23
     and the lack of procedural protections raise the risk that courts will too readily pre-
24
     judge a person’s guilt:
25
26          The District Court also referred to the ‘brazen act perpetrated in the
            instant case.’ This was a determination on an issue that was not noticed

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            for hearing, a finding based solely on the claimed testimony of
 1
            prosecution witnesses. No one may be confined on the ground that he has
 2          committed an offense when the determination is void of the protections
            that are the essentials of Anglo-American jurisprudence.
 3
            It is true, of course, that 18 U.S.C. § 3146(b) requires the court to take
 4          into account ‘the nature and circumstances of the offense charged (and)
 5          the weight of the evidence against the accused,’ but the statute neither
            requires nor permits a pretrial determination that the defendant is guilty. It
 6          is important to observe rather than obliterate the fundamental precepts of
            our jurisprudence. This is not merely a matter of the proprieties, though
 7
            that is itself not unimportant for judicial actions. If one bears in mind that
 8          one is examining only the evidence against the accused, for purposes of
            considering prospect of flight, one is more likely to guard against the
 9          impermissible course of reaching some kind of partial determination of
10          guilt and of beginning what is in substance a mandate of punishment.

11   United States v. Alston, 420 F.2d 176, 179–80 (D.C. Cir. 1969). Judge Howell’s
12   analysis of the weight of the evidence in Chrestman was made in precisely this
13   unbalanced context, and without the benefit of full briefing on the question of an
14   entrapment by estoppel defense. See Chrestman, 525 F. Supp. at 29 (“This theory has
15   not been fully briefed by the parties, and the question of former President Trump’s
16   responsibility, legal, moral, or otherwise, for the events of January 6, 2021 is not before
17   this Court.”).
18          Moreover, Judge Howell’s analysis focused on the weight of the evidence
19   against Mr. Chrestman, where the government proffered that “photos and video footage
20   clearly show defendant in the front of the crowd, interfering with police barriers,
21   confronting and threatening law enforcement, encouraging the crowd to ‘take’ the
22   Capitol, and leading the mob and his co-conspirators in efforts to keep the metal
23   barriers in the Capitol tunnels from closing, including by using his axe handle.”
24   Chrestman, 525 F. Supp. at 28–29. Mr. Chrestman contended that he and other
25   members of the “proud boys” organization “‘ha[d] the implicit approval of the state’
26   and so ‘acted on January 6.’” Id. at 29 (quoting pleading). This contention rested on the

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 1   apparent adoption of the proud boys’ activities by former President Donald Trump and
 2   his campaign, including former President Trump’s public direction to the proud boys to
 3   “stand back and standy by[.]” Id.
 4            Unsurprisingly, Judge Howell found that Mr. Chrestman’s asserted defense was
 5   unlikely to succeed. Her analysis focused on Mr. Chrestman’s proffered defense that
 6   former President Trump had authorized him to wield an axe, overturn physical barriers,
 7   disobey police in front of him, and otherwise commit crimes, by his public speeches
 8   and actions seeming to endorse the activities of the proud boys’ organization. Judge
 9   Howell distinguished Mr. Chrestman’s case from those where the Supreme Court had
10   previously found an entrapment by estoppel defense was established, explaining Mr.
11   Chrestman could not claim 2 he was “at all uncertain as to whether their conduct ran
12   afoul of the criminal law, given the obvious police barricades, police lines, and police
13   orders restricting entry at the Capitol.” Id. at 32.
14            And Judge Howell reasoned that Mr. Chrestman’s argument that former
15   President Trump authorized his criminal conduct would not pass legal muster. Id. at 32–
16   33 (“no President may unilaterally abrogate criminal laws duly enacted by Congress as
17   they apply to a subgroup of his most vehement supporters.”). This analysis led Judge
18   Howell to conclude that the weight of the evidence against Mr. Chrestman was strong
19   and weighed in favor of detention. Id. at 33. Nowhere in this opinion does Judge
20   Howell claim that the actions, inactions, or authorizations of any law enforcement
21   officer is irrelevant in any case arising from January 6. Rather, as detailed above, such
22   evidence is relevant in Mr. Rhine’s case.
23
24   2
      In her memorandum opinion, Judge Howell refers to “January 6 defendants” asserting
25   an entrapment by estoppel defense. Id. at 32. However, she issued her opinion on
     February 26, 2021, several months before even a complaint was filed against Mr.
26   Rhine. As detailed above, the evidence in Mr. Rhine’s case and relevance of the actions
     of law enforcement is very different than that in Mr. Chrestman’s case.
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 1            In any event, this case is more akin to Cox v. Louisiana, 379 U.S. 559 (1965),
 2   than to Chrestman. Indeed, in Cox, the Chief of Police, in the presence of other
 3   community leaders, told an organizer he could stage a demonstration just over 100 feet
 4   from a courthouse. However, police later ordered the protestors to disperse and the state
 5   charged the organizer with violating a statute that prohibited picketing near a
 6   courthouse. Id. at 571. The Court held, “under all the circumstances of this case, after
 7   the public officials acted as they did, to sustain appellant’s later conviction for
 8   demonstrating where they told him he could ‘would be to sanction an indefensible sort
 9   of entrapment by the State—convicting a citizen for exercising a privilege which the
10   State had clearly told him was available to him.’” Id. (quoting Raley v. Ohio, 360 U.S.
11   423, 426 (1959).
12            C.      Limited statements by former President Trump on January 6 are
                      relevant to challenge knowledge.
13
              Mr. Rhine does not intend to argue that former President Trump authorized him
14
     or anyone else to commit obvious crimes. However, some of former President Trump’s
15
     public comments on January 6 do cast doubt on whether Mr. Rhine knew, or would
16
     have known, that the Capitol Building was restricted and no entry was permitted.
17
     Indeed, during his public address on the morning of January 6, former President Trump
18
     appeared to request that the Secret Service and other law enforcement agencies permit
19
     people entry into the area around his speech, requests that seem to have been granted:
20
21            And I’d love to have if those tens of thousands of people would be
              allowed. The military, the secret service. And we want to thank you and
22            the police law enforcement. Great. You’re doing a great job. But I’d love
              it if they could be allowed to come up here with us. Is that possible? Can
23            you just let him come up, please? 3
24
25   3
      Transcript of Trump’s Speech at Rally Before US Capitol Riot, Assoc. Press, Jan. 13,
26   2021, https://apnews.com/article/election-2020-joe-biden-donald-trump-capitol-siege-
     media-e79eb5164613d6718e9f4502eb471f27.
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 1   Former President Trump later indicated that, after his speech, he would proceed with
 2   the crowd to the Capitol to cheer on those members of Congress he deemed
 3   courageous:
 4          Now, it is up to Congress to confront this egregious assault on our
            democracy. And after this, we’re going to walk down, and I’ll be there
 5
            with you, we’re going to walk down, we’re going to walk down.
 6
            Anyone you want, but I think right here, we’re going to walk down to the
 7          Capitol, and we’re going to cheer on our brave senators and congressmen
            and women, and we’re probably not going to be cheering so much for
 8
            some of them. . . .
 9
            I know that everyone here will soon be marching over to the Capitol
10          building to peacefully and patriotically make your voices heard.
11
     Id. In conclusion, former President Trump stated again that he and the crowd (“we”)
12
     would walk to the Capitol to encourage members of Congress to vote against
13
     certification of the electoral college results:
14
            So we’re going to, we’re going to walk down Pennsylvania Avenue. I
15          love Pennsylvania Avenue. And we’re going to the Capitol, and we’re
            going to try and give.
16
17          The Democrats are hopeless, they never vote for anything. Not even one
            vote. But we’re going to try and give our Republicans, the weak ones
18          because the strong ones don’t need any of our help. We’re going to try
            and give them the kind of pride and boldness that they need to take back
19          our country.
20
            So let’s walk down Pennsylvania Avenue.
21
22   Id. These statements made it less likely that Mr. Rhine would know that the Capitol

23   building was restricted from peaceful protestors. During these remarks, President

24   Trump demonstrated his apparent authority of the Secret Service and other law

25   enforcement agencies, then repeatedly indicated that he would move with the crowd to

26   the Capitol to engage in apparently lawful protest.


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 1          Mr. Rhine would not introduce these statements to argue that President Trump
 2   authorized criminal conduct. Rather, these remarks make it less likely that Mr. Rhine
 3   knew the Capitol building was restricted from peaceful protest or cheering. Here, the
 4   sitting President first demonstrated his authority over the Secret Service and
 5   successfully instructed law enforcement to allow members of the public into an
 6   apparently restricted area. He then stated he would walk with the crowd to cheer or
 7   protest at the Capitol. These statements indicate that peaceful cheerers or protestors
 8   would not be restricted form the Capitol. And Mr. Rhine is alleged to have done no
 9   more than enter the Capitol, walk, and comply with later law enforcement commands.
10   See generally Dkt. No. 1.
11   II.    CONCLUSION
12          The Court should deny the government’s Motion in Limine. The actions and
13   inactions of are plainly relevant to the charges brought by the government. Mr. Rhine
14   has a Sixth Amendment right to elicit such relevant evidence that undermines the
15   government’s proof on any element of the charges against him. Therefore, the Court
16   should deny the motion.
17          DATED this 16th day of November, 2022.
18                                                      Respectfully submitted,
19
                                                        s/ Rebecca Fish
20                                                      Assistant Federal Public Defender
21                                                      s/ Joanna Martin
22                                                      Assistant Federal Public Defender

23                                                      Attorneys for Mr. Rhine
24
25
26

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